43 F.3d 1469
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph T. WATKINS, Plaintiff Appellant,v.ARLINGTON COUNTY BOARD, Defendant Appellee.
    No. 93-2376.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1994.Decided Nov. 29, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.  (CA-93-643-A)
      Joseph T. Watkins, appellant pro se.  Ara Loris Tramblian, Asst. County Atty., Arlington, VA, for appellee.
      E.D.Va.
      AFFIRMED.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his age discrimination claim.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Watkins v. Arlington County Board, No. CA-93-643-A (E.D. Va.  Sept. 27, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    